                     IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF ALASKA AT NOME
Arron Gustafson and Gary Gustafson,  )
                                     )    Case No. 2:18-cv-00001-JWS
                       Plaintiffs,   )
                                     )
                     vs.             )
                                     )
Jason Bowman &                        )   FINAL JUDGMENT
Subsistence Placers LLC.,            )    FRCP 54
                                     )
                      Defendants.    )
____________________________________)

Defendant Subsistence Placers, LLC (“Defendant”) has failed to answer or

otherwise defend this action, and default has been entered. IT IS ORDERED that

plaintiffs Arron Gustafson and Gary Gustafson, shall recover from Defendant as

follows:

      a. Principal Amount                         $4,560,000.00

      b. Prejudgment Interest on the principal
         (Computed at the annual rate of ____%
         From ___________to date of judgment) $_(waived) __


      c. Sub-total                                $4,560,000.00_

      d. Attorney Fees (Turri)              $   10,350.00



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          Attorney Fees (Marx)                 $_     9,700.00___

      e. Costs (Marx)                          $

      f. TOTAL JUDGMENT                        $              _____

This judgment will bear interest at the annual rate of _2.36 % from the date of
judgment until paid.


____05/17/2019_________________
     Effective Date

                                  /s/ JOHN W. SEDWICK
                    SENIOR JUDGE, UNITED STATES DISTRICT COURT




      SEAL

I hereby certify that on the _____ day of ______, 2019, a copy of this judgment
was mailed to:

Subsistence Placers, LLC, c/o Michael Benchoff, PO Box 322, Nome, AK 99762

____________________
Clerk:_____________

RETURN TO AFTER RECORDING:

Brandon C. Marx, Esq.
PO Box 6171
Sitka, AK 99835




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